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                                 8
                                        KIMYA PHILLIPS
                                 9
                                 10
                                                              UNITED STATES DISTRICT COURT
                                 11
                                 12                         CENTRAL DISTRICT OF CALIFORNIA

                                 13
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                                 14     KIMYA PHILLIPS, an individual,             CASE NO.: 5:21−cv−01719−JWH−SP

                                 15                         Plaintiff,             FOURTH AMENDED COMPLAINT
                                 16                                                FOR DAMAGES:
                                              vs.
                                 17                                                    1. DISCRIMINATION ON THE
                                 18     SELECT REHABILITATION, LLC,                       BASIS OF DISABILITY
                                        a Delaware Limited Liability                      (GOV’T. CODE § 12940 et seq.);
                                 19     Company; NEAL DEUTSCH and                      2. DISABILITY-BASED
                                 20     DOES 2 through 50, inclusive,                     ASSOCIATIONAL
                                                                                          DISCRIMINATION (GOV’T
                                 21                         Defendants.                   CODE § 12926 (O));
                                 22                                                    3. FAILURE TO
                                                                                          ACCOMMODATE
                                 23                                                       DISABILITY (GOV’T. CODE §
                                 24                                                       12940 (m));
                                                                                       4. FAILURE TO ENGAGE IN
                                 25                                                       TIMELY, GOOD-FAITH,
                                 26                                                       INTERACTIVE PROCESS
                                                                                          (GOV’T. CODE § 12940 (n));
                                 27                                                    5. RETALIATION IN
                                 28                                                       VIOLATION OF FEHA;

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                                 1                                                  6. FAILURE TO PREVENT
                                                                                        DISCRIMINATORY
                                 2                                                      PRACTICES;
                                 3                                                  7. FAILURE TO PAY MEAL AND
                                                                                        REST PERIOD
                                 4                                                      COMPENSATION (LABOR
                                 5                                                      CODE § 226.7);
                                                                                    8. NON-COMPLIANT WAGE
                                 6                                                      STATEMENTS (LABOR CODE
                                 7                                                      § 226);
                                                                                    9. WAITING TIME PENALTIES
                                 8                                                      (LABOR CODE §§ 201, 203);
                                 9                                                  10. UNFAIR COMPETITION (BPC
                                                                                        § 17200 ET SEQ.)
                                 10                                                 11. UNLAWFUL DEDUCTIONS
                                 11                                                     FROM WAGES (LABOR CODE
                                                                                        §§ 221 AND 223);
                                 12                                                 12. WRONGFUL TERMINATION
                                 13                                                     IN VIOLATION OF PUBLIC
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                                                                                        POLICY (GOV’T. CODE §
                                 14                                                     12900 ET SEQ.);
                                 15                                                 13. FAILURE TO PRODUCE
                                                                                        PERSONNEL AND PAYROLL
                                 16                                                     RECORDS (LABOR CODE §§
                                 17                                                     226 & 1198.5);
                                 18
                                 19                                            JURY TRIAL DEMANDED
                                 20
                                 21           COMES NOW Plaintiff, KIMYA PHILLIPS, who respectfully alleges the
                                 22     following:
                                 23                                                I.
                                 24                             GENERAL ALLEGATIONS
                                 25         1.       This is an action for Violations of California law against SELECT
                                 26     REHABILITATION, LLC, by and through their respective sole proprietors,
                                 27     owners, shareholders, officers, directors, members, managing agents, alter egos,
                                 28     NEAL DEUTSCH and DOES 2 THROUGH 50, inclusive (collectively,

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                                 1      “Defendants”), for: (1) discrimination on the basis of disability; (2) discrimination
                                 2      on the basis of association with a disabled person(s) (3) failure to accommodate
                                 3      disability; (4) failure to engage in timely, good-faith, interactive process; (5)
                                 4      retaliation in Violation of FEHA; (6) failure to prevent discriminatory practices;
                                 5      (7) Failure to Pay Meal and Rest Period Compensation; (8) Non-Compliant Wage
                                 6      Statements; (9) Failure to Pay Wages in a Timely Manner (Waiting Time
                                 7      Penalties); (10) Unfair Competition; and (11) Unlawful Deduction of Wages; (12)
                                 8      wrongful termination in Violation of California public policy; and (13) failure to
                                 9      produce personnel and payroll records.
                                 10           2.     Venue is proper in this Court because Plaintiff is informed and
                                 11     believes that at all times relevant to this action, all Defendants, and/or Does 2
                                 12     through 50, inclusive, had their principal place of business and were doing business
                                 13     in SAN BERNARDINO County, California; Defendants employed Plaintiff in
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                                 14     SAN BERNARDINO County; Plaintiff worked in SAN BERNARDINO County
                                 15     throughout her employment with Defendants; Defendants’ relevant actions herein
                                 16     alleged occurred in SAN BERNARDINO County; witnesses reside in SAN
                                 17     BERNARDINO County; and Defendants’ relevant records are maintained and
                                 18     administered in SAN BERNARDINO County.
                                 19                                              II.
                                 20                                      THE PARTIES
                                 21           3.     At all relevant times, Plaintiff KIMYA PHILLIPS (“Plaintiff” or
                                 22     “PHILLIPS”) is and was an individual over the age of 18 and a resident of the
                                 23     County of SAN BERNARDINO, State of California.
                                 24           4.     Plaintiff is informed and believes and thereon alleges that at all
                                 25     relevant times, Defendant SELECT REHABILITATION, LLC (hereinafter,
                                 26     “Defendant”) was and is a corporation or other business entity authorized to do
                                 27     business in SAN BERNARDINO County, California, and was and is doing
                                 28     business in SAN BERNARDINO County.

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                                 1            5.     Plaintiff is informed and believes and thereon alleges that all events
                                 2      relevant to this Complaint occurred in SAN BERNARDINO County, California.
                                 3      Plaintiff is further informed and believes that witnesses to the events described
                                 4      herein were and are residents of SAN BERNARDINO County, California.
                                 5            6.     Plaintiff is ignorant of the true names and capacities of Defendants
                                 6      sued herein as Does 2 through 50, inclusive, and therefore sues these Defendants
                                 7      by such fictitious names. Plaintiff will amend this Complaint to allege their true
                                 8      names and capacities when the same are ascertained. Plaintiff is informed and
                                 9      believes and thereon alleges that each of the fictitiously named Defendants is
                                 10     responsible in some manner for all occurrences herein alleged including the named
                                 11     Defendants’ discriminatory, harassing, retaliatory, and other illegal acts, and that
                                 12     Plaintiff’s damages alleged herein are proximately caused by these Defendants.
                                 13           7.     Plaintiff is informed and believes and thereon alleges that at all
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                                 14     relevant times, all Defendants, including Defendants sued herein as Does 2 through
                                 15     50, were agents, employees, and/or joint venturers of the other Defendants, or were
                                 16     otherwise working in concert with the other Defendants, and were acting within
                                 17     the course and scope of such agency, employment, joint venture, and/or concerted
                                 18     activity. The herein alleged acts and omissions perpetrated by any single
                                 19     Defendant, or any group of Defendants, and their agents, were confirmed and
                                 20     ratified by all other Defendants, both individually and collectively.
                                 21           8.     At all relevant times, Defendant and Does 2 through 50, and each of
                                 22     them, were the agents, servants, and alter-egos of each other, and as such, the acts
                                 23     and omissions of one Defendant are considered the acts and omissions of all
                                 24     Defendants. Plaintiff is informed and believes and thereon alleges that there is
                                 25     such unity of interests and ownership between these Defendants that separate status
                                 26     no longer exists, and that observance of the fiction of separate existence among
                                 27     these Defendants would sanction fraud and promote injustice.
                                 28     ///

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                                 1            9.     Whenever and wherever reference is made in this Complaint to any
                                 2      act or failure to act by any single Defendant or any group of Defendants, such
                                 3      reference shall also be deemed to mean the acts and failures to act of each
                                 4      Defendant, and all Defendants, acting individually, jointly, and severally.
                                 5            10.    Whenever and wherever reference is made to individuals who are not
                                 6      named as Plaintiffs or Defendants in this Complaint but were agents, servants,
                                 7      employees, and/or supervisors of Defendants, such individuals, at all relevant
                                 8      times, acted on behalf of named and Doe Defendants within the scope of their
                                 9      employment and authority.
                                 10                                              III.
                                 11                                FACTUAL ALLEGATIONS
                                 12           11.    In November 2015, Plaintiff began working at the Rialto Post-Acute
                                 13     Care Center rehabilitation facility in Rialto, California.
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                                 14           12.    The building where Plaintiff worked contracted in companies to
                                 15     handle physical therapy for patients. The first company/contract Plaintiff worked
                                 16     under was Interface Rehabilitation.
                                 17           13.    After working there for a few years, the rehabilitation contract
                                 18     changed, and Plaintiff transitioned to the new contractor Reliant Post-
                                 19     Rehabilitation.
                                 20           14.    In 2019, after approximately two years, Defendant Select
                                 21     Rehabilitation, was named as the new contractor in the building.              Plaintiff
                                 22     transitioned on with Defendant Select Rehabilitation on or about December 1,
                                 23     2019. (See Exhibit 1 – Offer Letter). Plaintiff was hired as a Physical Therapy
                                 24     Assistant.
                                 25           15.    As a full-time employee, Plaintiff performed all her job duties
                                 26     satisfactorily until she was wrongfully terminated on or about May 1, 2020.
                                 27           16.    Despite     the   change   in       contracts/company   names,   Plaintiff
                                 28     responsibilities, job location, coworkers, and everything else remained the same.

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                                 1      She worked for the same supervisor as with the previous contractor.
                                 2            17.    On or about March 2, 2020, Plaintiff’s grandmother unfortunately
                                 3      passed away at the age of 83 after having been hospitalized since December 2019.
                                 4            18.    Plaintiff was very close with her grandmother and assisted with
                                 5      caregiving for her immunocompromised grandmother.
                                 6            19.    Defendants were fully aware of Plaintiff situation as she continually
                                 7      kept them updated.
                                 8            20.    After her grandmother’s passing, Plaintiff was eligible for
                                 9      bereavement leave with Defendant, but chose to keep working until her
                                 10     grandmother’s funeral, out of dedication to the company and patients she served.
                                 11           21.    On or about March 14, 2020, while attending her grandmother’s
                                 12     funeral, both Plaintiff and Plaintiff’s mother were exposed to someone with
                                 13     COVID-19.
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                                 14           22.    Plaintiff immediately notified Defendants and let them know that she
                                 15     had been exposed to COVID-19. As a result, she was automatically placed on a
                                 16     14-day leave of absence to quarantine.
                                 17           23.    Unfortunately, Plaintiff’s mother’s health declined rapidly.
                                 18           24.    On or about March 21, 2020, Plaintiff’s mother was hospitalized.
                                 19     Plaintiff was still working at this time.
                                 20           25.    On March 24, 2020, Plaintiff’s father notified her that her mother’s
                                 21     test results had come back positive.
                                 22           26.    Plaintiff became extremely stressed and was scared for her mother’s
                                 23     health. She immediately informed her supervisor, Cesar Ciruela, that she had an
                                 24     emergency and needed to leave for the day. Mr. Ciruela gave his approval.
                                 25           27.    On or about March 25, 2020, Plaintiff contacted Lindsey Aldridge to
                                 26     let her know about everything that was going on with her mother’s health/situation.
                                 27           28.    Lindsey Aldridge was initially understanding and seemed nervous for
                                 28     Plaintiff. Plaintiff let Ms. Aldridge know she needed some time and would keep

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                                 1      Defendants informed of everything as things progressed.
                                 2            29.      Lindsey Aldridge said that was completely fine. At this point in time,
                                 3      Plaintiff was in state of emotional shock, panicked and very scared.
                                 4            30.      On April 2, 2020, Plaintiff submitted an Application for Leave to
                                 5      Defendant. (See Exhibit 2 – Application for LOA – 4/2/20). In her application,
                                 6      Plaintiff writes: “My mother is in the hospital on a ventilator diagnosed with
                                 7      COVID-19. I was instructed to quarantine as well as care for her when she is
                                 8      discharged.”
                                 9            31.      On or about April 8, 2020, Plaintiff received a letter from Defendants
                                 10     informing her that she had exhausted her quarantine time/period. (See Exhibit 3 –
                                 11     Letter from Defendant – 4/8/20).
                                 12           32.      Defendant demands that Plaintiff return to work by April 23, 2020.
                                 13     This letter came as a total shock and surprise to Plaintiff, because her supervisor
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                                 14     Lindsey Aldridge had told Plaintiff to take all the time she needed in order to care
                                 15     for her mother.
                                 16           33.      Additionally, Plaintiff had just filled out her leave of absence request
                                 17     six days earlier.
                                 18           34.      During this time, Plaintiff’s mother’s health began to decline
                                 19     significantly.
                                 20           35.      As a result of the stress Plaintiff was under, a family member
                                 21     suggested Plaintiff see a doctor.
                                 22           36.      On or about April 16, 2020, Plaintiff was finally able to get an
                                 23     appointment with her physician – Doctor Chiriboga.
                                 24           37.      Dr. Chiriboga placed Plaintiff on a medical leave of absence from
                                 25     work through May 16, 2020. (See Exhibit 4 – Doctor’s Note). Plaintiff timely
                                 26     submitted her medical note and certification of health care provider to Defendants.
                                 27     (See Exhibit 5 – Certification of Healthcare Provider).
                                 28     ///

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                                 1              38.   On or about April 23, 2020, Plaintiff filed an Application for Leave
                                 2      and submitted all necessary paperwork to Defendants. (See Exhibit 6 –
                                 3      Application for Leave – 4/23/20).
                                 4              39.   On or about April 23, 2020, Lindsey Aldridge responded to an email
                                 5      from April 22, 2020 from Jennifer Hoff regarding Plaintiff’s requests for
                                 6      accommodations and/or leave of absence.
                                 7              40.   In that email, Lindsey Aldridge states “We can give her an additional
                                 8      week, we need her back to work 5/1.” (See Exhibit 7 – Email Exchange Between
                                 9      Aldridge and Hoff).
                                 10             41.   At this time, Lindsey Aldridge was fully aware of Plaintiff’s
                                 11     emotional state and condition, as well as the fact that Plaintiff’s mother was on a
                                 12     ventilator in the hospital battling for her life.
                                 13             42.   This all occurred during April 2020, the height of the COVID-19
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                                 14     pandemic. A time rampant with fear and scarcity.
                                 15             43.   Despite knowing all of this, Lindsey Aldridge showed no empathy or
                                 16     compassion, instead choosing to turn a cold shoulder, and demanded that Plaintiff
                                 17     return to work in one week.
                                 18             44.   Between 8:28 AM on April 22nd and 3:08 PM on April 23rd,
                                 19     Defendants never contacted Plaintiff to discuss potential accommodations nor
                                 20     engage in the interactive process.
                                 21             45.   Plaintiff was willing to participate in an interactive process to
                                 22     determine what reasonable accommodations could be made so that she would be
                                 23     able to perform the essential job requirements.
                                 24             46.   Defendants failed to participate in a timely good-faith interactive
                                 25     process with Plaintiff to determine whether reasonable accommodations could be
                                 26     made.
                                 27             47.   Instead of participating in a timely interactive process Defendants
                                 28     demanded that Plaintiff return to work within one week.

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                                 1              48.   On April 26, 2020, Defendants sent Plaintiff a letter regarding her
                                 2      requested leave of absence. (See Exhibit 8 – Letter from Defendant – 4/26/20).
                                 3      In that letter, Defendant demands that Plaintiff return to work by May 1, 2020,
                                 4      despite never having engaged in any interactive dialogue with Plaintiff, and in
                                 5      direct contradiction with Plaintiff’s medically required leave of absence.
                                 6              49.   On May 1, 2020, Jennifer Hoff called Plaintiff to question her
                                 7      regarding why she was not at work. Plaintiff reminded Ms. Hoff that she was on
                                 8      a leave of absence. Further Plaintiff let Ms. Hoff know that all her leave of absence
                                 9      paperwork had been provided to Defendant.
                                 10             50.   Plaintiff informed Jennifer Hoff that her mother was fighting for her
                                 11     life on a ventilator due to COVID-19. Ms. Hoff was unsympathetic and did not
                                 12     care.
                                 13             51.   In response, Jennifer Hoff insulted Plaintiff and showed no empathy,
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                                 14     nor was she willing to engage in the interactive process with Plaintiff. Ms. Hoff
                                 15     told Plaintiff that her situation didn’t matter, and she was terminating Plaintiff.
                                 16             52.   Defendants sent Plaintiff a letter confirming that Defendants had
                                 17     terminated her employment. (See Exhibit 9 – Letter from Defendant re:
                                 18     Termination – 5/1/20). (See also Exhibit 10 – Separation Status Change Form).
                                 19     Plaintiff had intended to return to work for Defendant Select but unfortunately was
                                 20     not given the opportunity to do so.
                                 21             53.   On May 19, 2020, Plaintiff’s mother passed away following her battle
                                 22     with COVID-19.
                                 23             54.   As a result of her termination, Plaintiff spiraled into a state of
                                 24     depression and developed anxiety.        Plaintiff’s symptoms and conditions are
                                 25     continuing.
                                 26             55.   No representative of any Defendants herein ever engaged in an
                                 27     interactive dialogue with Plaintiff regarding ways to accommodate her disability.
                                 28     Instead, Plaintiff’s employment was wrongfully terminated, without any

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                                 1    interactive process, because of, among other things: (1) her objection to her
                                 2    wrongful and discriminatory treatment based on her disability status; (2) her
                                 3    objection to her wrongful and discriminatory harassment; (3) her request for
                                 4    reasonable accommodation; (4) her disability; and (5) her association with a
                                 5    disabled person — all of which are protected categories and activities under the
                                 6    Fair Employment & Housing Act (“FEHA”). These were all motivating factors in
                                 7    Defendants’ decision to discharge Plaintiff effective May 1, 2020.
                                 8          56.     At all times relevant hereto, Plaintiff was a non-exempt employee
                                 9    under California law and was subject to the California Labor Code and Wage Order
                                 10   requirements. During the relevant period, and due to the nature of Plaintiff’s job
                                 11   duties, Plaintiff’s legally mandated thirty (30)-minute uninterrupted meal break
                                 12   was frequently short, late, interrupted, or missed. In addition, Plaintiff rarely had
                                 13   the opportunity to take a full, timely, uninterrupted ten (10)-minute rest period.
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                                 14         57.     Plaintiff never received the one (1) hour of pay Plaintiff was entitled
                                 15   to for each of Defendants’ meal break violations and rest period violations.
                                 16         58.     At all times relevant hereto, Plaintiff regularly worked more than
                                 17   eight hours per day and/or more than forty hours per week.
                                 18         59.     At all times relevant hereto, Plaintiff was not exempt pursuant to
                                 19   Labor Code and Wage Order requirements, including payment of overtime
                                 20   compensation. Despite this, Defendants failed to pay overtime compensation.
                                 21         60.     Defendants failed to pay Plaintiff’s wages at the time the wages
                                 22   became due and payable, and Defendants failed to pay such overdue wages at the
                                 23   time of Plaintiff’s discharge.
                                 24         61.     Moreover, due to Defendants’ failure to provide meal and rest period
                                 25   premiums and wages, Defendants failed to provide Plaintiff with compliant wage
                                 26   statements.
                                 27         62.     Additionally, Defendants’ policies and practices of failing to provide
                                 28   accurate itemized wage statements, timely pay all wages owed, and provide duty-

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                                 1    free meal periods, as set forth above, violate the Unfair Competition Law.
                                 2          63.     During the relevant time period, Defendants subjected Plaintiff to
                                 3    discrimination, harassment, and retaliation by, among other things, violating her
                                 4    physical autonomy, altering the conditions of Plaintiff’s employment through
                                 5    harassment, verbal abuse, refusing to provide reasonable accommodation, and
                                 6    refusing to engage in a timely, good-faith, interactive process, despite full
                                 7    awareness of Plaintiff’s disability.
                                 8          64.     At all relevant times, Defendants failed to properly engage in a timely,
                                 9    good-faith, interactive process to ascertain what reasonable accommodation could
                                 10   be provided to Plaintiff in view of her association with a disabled person, medical
                                 11   conditions and disability, so that Plaintiff could continue performing her essential
                                 12   job duties.
                                 13         65.     At all relevant times, Defendants failed to reasonably accommodate
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                                 14   Plaintiff even though Plaintiff was able to perform the essential job duties of her
                                 15   position or another position with reasonable accommodation.
                                 16         66.     Plaintiff’s termination from employment was substantially motivated
                                 17   by Plaintiff’s association with a disabled person, and disability, without any
                                 18   discussion of accommodation or any good-faith attempt to engage in an interactive
                                 19   process with Plaintiff. Defendants’ discriminatory animus is evident and amply
                                 20   demonstrated by the above facts.
                                 21         67.     Therefore, Defendants discriminated against, harassed, and retaliated
                                 22   against Plaintiff on the basis of Plaintiff’s association with a disabled person,
                                 23   disability, and/or Plaintiff’s protected activities, which included, without
                                 24   limitation, requesting reasonable accommodation and complaining about
                                 25   discrimination, and harassment.
                                 26         68.     As a result of Defendants’ actions, Plaintiff has suffered and will
                                 27   continue to suffer general and special damages, including severe and profound
                                 28   emotional distress and mental anguish, and past and future lost wages and benefits.

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                                 1          69.   Defendants’ conduct described herein was undertaken, authorized,
                                 2    and/or ratified by Defendants’ officers, directors, and/or managing agents, and
                                 3    those identified herein as DOES 2 through 50, who were authorized and
                                 4    empowered to make decisions that reflect and/or create policy for Defendants. The
                                 5    aforementioned conduct of said managing agents and individuals was, therefore,
                                 6    undertaken on behalf of Defendants, who further had advance knowledge of the
                                 7    actions and conduct of said individuals. Such actions and conduct were ratified,
                                 8    authorized, and approved by managing agents whose precise identities are
                                 9    unknown to Plaintiff at this time and who are, therefore, designated herein as
                                 10   DOES 2 through 50, inclusive.
                                 11                                            IV.
                                 12                                FIRST CAUSE OF ACTION
                                 13         Employment Discrimination Based on Disability – Violation of Fair
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                                 14                              Employment and Housing Act
                                 15                            (Government Code § 12940 et seq.)
                                 16                            [Against Defendants and Does 2-50]
                                 17         70.   Plaintiff incorporates herein by reference, as though fully set forth at
                                 18   length, each and every allegation and statement contained in the preceding and
                                 19   subsequent paragraphs.
                                 20         71.   At all relevant times, FEHA, Government Code section 12940 et seq.,
                                 21   was in full force and effect and was binding on Defendants. This statute requires
                                 22   Defendants to refrain from discriminating against any employee based on disability
                                 23   (including actual, perceived, and history of). Within the time provided by law,
                                 24   Plaintiff filed a complaint with the DFEH, in full compliance with administrative
                                 25   requirements, and received a right-to-sue letter. (See Exhibit 11 – Right to Sue
                                 26   Letter).
                                 27         72.   Plaintiff is informed and believes and thereon alleges that Plaintiff’s
                                 28   disability was a motivating factor in Defendants’ wrongdoing, which included,

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                                 1    without limitation, the following: (1) Defendants’ refusal to reasonably
                                 2    accommodate Plaintiff’s disability; (2) Defendants’ failure to engage in a timely,
                                 3    good-faith, interactive process with Plaintiff to determine whether reasonable
                                 4    accommodation could be provided for her disability; and (3) terminating Plaintiff’s
                                 5    employment due to Plaintiff’s disability.
                                 6          73.    At all relevant times, Plaintiff was an individual with a disability
                                 7    within the meaning of Government Code § 12926 (m). Additionally, at all relevant
                                 8    times, Plaintiff was willing, able, and qualified to perform the duties and functions
                                 9    of the position in which she was employed and/or trained, or could have performed
                                 10   the duties and functions of that position with reasonable accommodation. At no
                                 11   time would Plaintiff’s performance of the functions of the employment position,
                                 12   with reasonable accommodation for Plaintiff’s disability, have been a danger to
                                 13   Plaintiff or any other person’s health or safety. Reasonable accommodation of
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                                 14   Plaintiff’s disability would not have imposed an undue hardship on Defendants.
                                 15         74.    Defendants’ acts and omissions, including terminating Plaintiff’s
                                 16   employment, constitute unlawful and discriminatory employment practices on
                                 17   account of Plaintiff’s physical disability, in Violation of Government Code §
                                 18   12900 et seq.
                                 19         75.    As a direct, foreseeable, and proximate result of Defendants’ conduct
                                 20   as alleged herein, Plaintiff has suffered and will continue to suffer actual damages,
                                 21   including lost earnings and other employment benefits, in a sum in excess of the
                                 22   jurisdictional limit of this Court, the exact amount of which is not yet known,
                                 23   which amount will be proven at trial.
                                 24         76.    As a further direct, foreseeable, and proximate result of said wrongful
                                 25   acts and failures to act by Defendants, Plaintiff has suffered and will continue to
                                 26   suffer substantial emotional distress, and will incur other incidental and
                                 27   consequential damages and losses, all in amounts to be proven at trial. Plaintiff
                                 28   claims all such amounts as damages, together with prejudgment interest, pursuant

                                                                               13
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                                 1    to any provision of law providing for prejudgment interest.
                                 2           77.    As a further direct, foreseeable, and proximate result of Defendants’
                                 3    discriminatory and wrongful actions against Plaintiff as alleged herein, Plaintiff
                                 4    has suffered and will continue to suffer special damages that include, without
                                 5    limitation, loss of wages, salary, benefits, and/or additional amounts of money
                                 6    Plaintiff would have received but for Defendants’ discriminatory and wrongful
                                 7    actions as alleged herein. Plaintiff also continues to suffer the intangible loss of
                                 8    such employment-related opportunities as experience in the position Plaintiff held
                                 9    and advancement opportunities.
                                 10          78.    As a further direct, foreseeable, and proximate result of said wrongful
                                 11   acts and failures to act by Defendants, Plaintiff has suffered and will continue to
                                 12   suffer humiliation, shame, despair, embarrassment, depression, and mental pain
                                 13   and anguish, causing Plaintiff to incur damages in an amount to be proven at trial.
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                                 14          79.    The aforementioned acts were carried out by Defendants in a
                                 15   malicious, willful, and oppressive manner, with intent to injure and cause damage
                                 16   to Plaintiff, entitling Plaintiff to recover exemplary damages from Defendants
                                 17   under Civil Code § 3294.          Defendants’ decision to terminate Plaintiff’s
                                 18   employment based on Plaintiff’s disability was reached and implemented with
                                 19   intent to injure Plaintiff and with intent to prevent the exercise of Plaintiff’s
                                 20   statutory rights. Defendants’ officers, directors, and managerial and supervisory
                                 21   employees participated in the unlawful conduct as alleged above, or had actual
                                 22   knowledge that the above- alleged conduct was unlawful and occurring but
                                 23   nevertheless authorized and/or ratified the practices in conscious disregard of the
                                 24   rights of Plaintiff.
                                 25          80.    Under the Fair Employment and Housing Act, Plaintiff is entitled to
                                 26   an award of reasonable attorney’s fees and costs.
                                 27   ///
                                 28   ///

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                                 1                                SECOND CAUSE OF ACTION
                                 2                Employment Discrimination Based on Association with a Person
                                 3                 Having a Disability or Perceived Disability – Violation of Fair
                                 4                                 Employment and Housing Act
                                 5                               [Against Defendants and Does 2-50]
                                 6          81.     Plaintiff incorporates herein by reference, as though fully set forth at
                                 7    length, each and every allegation and statement contained in the preceding and
                                 8    subsequent paragraphs.
                                 9          82.     At all relevant times, FEHA, Government Code section 12940 et seq.,
                                 10   was in full force and effect and binding on Defendants. This statute requires
                                 11   Defendants to refrain from discriminating against any employee based on, among
                                 12   other things, disability (including actual, perceived, and history of). In law,
                                 13   disability includes association with a person who has, or is perceived to have, a
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                                 14   disability (Government Code, section 12926(o)). Within the time provided by law,
                                 15   Plaintiff filed a complaint with the Department of Fair Employment and Housing
                                 16   (“DFEH”), in full compliance with administrative requirements, and received a
                                 17   right-to-sue letter. (See Exhibit 11 – Right to Sue Letter).
                                 18         83.     After learning that Plaintiff was the caretaker of his seriously ill
                                 19   mother, Defendants considered Plaintiff to be disabled and/or associated with a
                                 20   person who has a disability or perceived disability.
                                 21         84.     Plaintiff is informed and believes and thereon alleges that Plaintiff’s
                                 22   disability and/or associational disability were motivating factors in Defendants’
                                 23   wrongdoing in this case. This includes that, among other things, (1) Defendants
                                 24   feared that Plaintiff could also develop his mother’s disability or perceived
                                 25   disability, and that (2) Defendants singled out Plaintiff for closer scrutiny on
                                 26   attendance and daily activities after learning that Plaintiff had a disability and/or
                                 27   medical condition(s) and was his mother’s caretaker.
                                 28   ///

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                                 1           85.   Defendants’ acts and omissions, including terminating Plaintiff’s
                                 2    employment, constitute unlawful and discriminatory employment practices on
                                 3    account of Plaintiff’s disability and/or associational disability based on being the
                                 4    caretaker of his seriously ill mother, in violation of Government Code § 12900 et
                                 5    seq.
                                 6           86.   As a direct, foreseeable, and proximate result of Defendants’ conduct,
                                 7    Plaintiff has suffered and will continue to suffer actual damages, including lost
                                 8    earnings and other employment benefits, in a sum in excess of the jurisdictional
                                 9    limit of this Court, the exact amount of which is not yet known, which amount will
                                 10   be proven at trial.
                                 11          87.   As a further direct, foreseeable, and proximate result of said wrongful
                                 12   acts and failures to act by Defendants, Plaintiff has suffered and will continue to
                                 13   suffer substantial emotional distress, and will incur other incidental and
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                                 14   consequential damages and losses, all in amounts to be proven at trial. Plaintiff
                                 15   claims such amounts as damages together with prejudgment interest pursuant to
                                 16   any provision of law providing for prejudgment interest.
                                 17          88.   As a further direct, foreseeable, and proximate result of Defendants’
                                 18   discriminatory and wrongful actions against Plaintiff, Plaintiff has suffered and
                                 19   will continue to suffer special damages that include, without limitation, loss of
                                 20   wages, salary, benefits, and/or additional amounts of money Plaintiff would have
                                 21   received but for Defendants’ discriminatory conduct. Plaintiff also continues to
                                 22   suffer the intangible loss of such employment-related opportunities as experience
                                 23   in the position Plaintiff held and advancement opportunities.
                                 24          89.   As a further direct, foreseeable, and proximate result of said wrongful
                                 25   acts and failures to act by Defendants, Plaintiff has suffered and will continue to
                                 26   suffer humiliation, shame, despair, embarrassment, depression, and mental pain
                                 27   and anguish, causing Plaintiff to incur damages in an amount to be proven at trial.
                                 28   ///

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                                 1           90.   The aforementioned acts were carried out by Defendants in a
                                 2    malicious, willful, and oppressive manner with intent to injure and cause damage
                                 3    to Plaintiff, entitling Plaintiff to recover exemplary damages from Defendants
                                 4    under Civil Code § 3294.          Defendants’ decision to terminate Plaintiff’s
                                 5    employment based on Plaintiff’s disability and/or associational disability was
                                 6    reached and implemented with intent to injure Plaintiff and with intent to prevent
                                 7    the exercise of Plaintiff’s statutory rights. Defendants’ officers, directors, and
                                 8    managerial and supervisory employees participated in the unlawful conduct as
                                 9    alleged above, or had actual knowledge that the above- alleged conduct was
                                 10   unlawful and occurring, but nevertheless authorized and/or ratified the practices in
                                 11   conscious disregard of the rights of Plaintiff.
                                 12          91.   Under the Fair Employment and Housing Act, Plaintiff is entitled to
                                 13   an award of reasonable attorney’s fees and costs.
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                                 14                                THIRD CAUSE OF ACTION
                                 15         Failure to Accommodate Disability or Perceived Disability- Violation of
                                 16                         The Fair Employment and Housing Act
                                 17                            (Government Code § 12940 et seq.)
                                 18                            [Against Defendants and Does 2-50]
                                 19          92.   Plaintiff incorporates herein by reference, as though fully set forth at
                                 20   length, each and every allegation and statement contained in the preceding and
                                 21   subsequent paragraphs.
                                 22          93.   At all relevant times, FEHA, Government Code sections 12940 (a)
                                 23   and 12940 (m), was in full force and effect and was binding on Defendants. This
                                 24   statute requires Defendants to provide reasonable accommodation to known
                                 25   disabled employees. Within the time provided by law, Plaintiff filed a complaint
                                 26   with the DFEH, in full compliance with administrative requirements, and received
                                 27   a right-to-sue letter. (See Exhibit 11 – Right to Sue Letter).
                                 28   ///

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                                                           FOURTH AMENDED COMPLAINT FOR DAMAGES
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                                 1           94.    At all relevant times, Defendants were fully aware of Plaintiff’s
                                 2    disability.   Plaintiff attempted to obtain reasonable accommodation from
                                 3    Defendants for her disability.     Defendants, through their owners, managers,
                                 4    employees, and agents, refused to provide Plaintiff with reasonable
                                 5    accommodation and refused to engage in any meaningful discussion to determine
                                 6    if Plaintiff could be reasonably accommodated.
                                 7           95.    Defendants’ discriminatory and retaliatory actions against Plaintiff,
                                 8    as alleged above, constitute unlawful discrimination in employment on account of
                                 9    Plaintiff’s disability, in Violation of the Fair Employment and Housing Act,
                                 10   because Defendants failed to reasonably accommodate Plaintiff’s disability despite
                                 11   full awareness thereof and despite being repeatedly requested to provide
                                 12   reasonable accommodation (Government Code Section 12940 (m)).
                                 13          96.    As a direct, foreseeable, and proximate result of Defendants’ conduct
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                                 14   as alleged herein, Plaintiff has suffered and will continue to suffer actual damages,
                                 15   including lost earnings and other employment benefits, in a sum in excess of the
                                 16   jurisdictional limit of this Court, the exact amount of which is not yet known,
                                 17   which amount will be proven at trial.
                                 18          97.    As a further direct, foreseeable, and proximate result of said wrongful
                                 19   acts and failures to act by Defendants, Plaintiff has suffered and will continue to
                                 20   suffer substantial emotional distress, and will incur other incidental and
                                 21   consequential damages and losses, all in amounts to be proven at trial. Plaintiff
                                 22   claims such amounts as damages together with prejudgment interest pursuant to
                                 23   any provision of law providing for prejudgment interest.
                                 24          98.    As a further direct, foreseeable, and proximate result of Defendants’
                                 25   discriminatory and wrongful actions against Plaintiff as alleged herein, Plaintiff
                                 26   has suffered and will continue to suffer special damages that include, without
                                 27   limitation, loss of wages, salary, benefits, and/or additional amounts of money
                                 28   Plaintiff would have received but for Defendants’ discriminatory and wrongful

                                                                                18
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                                 1    actions as alleged herein. Plaintiff continues to suffer the intangible loss of such
                                 2    employment-related opportunities as experience in the position she held and
                                 3    advancement opportunities.
                                 4          99.    As a further direct, foreseeable, and proximate result of said wrongful
                                 5    acts and failures to act by Defendants, Plaintiff has suffered and will continue to
                                 6    suffer humiliation, shame, despair, embarrassment, depression, and mental pain
                                 7    and anguish, causing Plaintiff to incur damages in an amount to be proven at trial.
                                 8          100. The aforementioned acts were carried out by Defendants in a
                                 9    malicious, willful, and oppressive manner, with intent to injure and cause damage
                                 10   to Plaintiff, entitling Plaintiff to recover exemplary damages from Defendants
                                 11   under Civil Code § 3294.        Defendants’ decision to refuse to accommodate
                                 12   Plaintiff’s disability was reached and implemented with intent to injure Plaintiff
                                 13   and with intent to prevent the exercise of her statutory rights. Defendants’ officers,
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                                 14   directors, and managerial and supervisory employees participated in the unlawful
                                 15   conduct as alleged above, or had actual knowledge that the above-alleged conduct
                                 16   was unlawful and occurring but nevertheless authorized and/or ratified the
                                 17   practices in conscious disregard of the rights of Plaintiff.
                                 18         101. Under the Fair Employment and Housing Act, Plaintiff is entitled to
                                 19   an award of reasonable attorney’s fees and costs.
                                 20                             FOURTH CAUSE OF ACTION
                                 21            Failure to Engage in A Timely, Good-Faith, Interactive Process
                                 22                              (Government Code § 12940 (n))
                                 23                            [Against Defendants and Does 2-50]
                                 24         102. Plaintiff incorporates herein by reference, as though fully set forth at
                                 25   length, each and every allegation and statement contained in the preceding and
                                 26   subsequent paragraphs.
                                 27         103. At all relevant times, FEHA, Government Code section 12940(n), was
                                 28   in full force and effect and was binding on Defendants. This statute requires

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                                 1    Defendants to engage in a timely, good-faith, interactive process with an employee
                                 2    who has a known disability or known medical condition and who has requested
                                 3    reasonable accommodation therefor, to determine whether effective reasonable
                                 4    accommodation could be provided. Within the time provided by law, Plaintiff filed
                                 5    a complaint with the DFEH, in full compliance with administrative requirements,
                                 6    and received a right-to-sue letter. (See Exhibit 11 – Right to Sue Letter).
                                 7          104. At all relevant times, Defendants knew that Plaintiff had a disability,
                                 8    and Plaintiff attempted to obtain from Defendants reasonable accommodation for
                                 9    Plaintiff’s disability. Defendants, through their employees and agents, failed to
                                 10   adequately and timely respond to Plaintiff’s requests for reasonable
                                 11   accommodation and refused to engage in any meaningful discussion to determine
                                 12   whether Plaintiff could be provided with reasonable accommodation.
                                 13         105. Defendants refused and failed to engage in a timely and adequate
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                                 14   good-faith interactive process with Plaintiff to determine an effective reasonable
                                 15   accommodation in response to Plaintiff’s request for reasonable accommodation,
                                 16   in Violation of Government Code § 12940 (n).
                                 17         106. As a direct, foreseeable, and proximate result of Defendants’ conduct
                                 18   as alleged herein, Plaintiff has suffered and will continue to suffer actual damages,
                                 19   including lost earnings and other employment benefits, in a sum in excess of the
                                 20   jurisdictional limit of this Court, the exact amount of which is not yet known,
                                 21   which amount will be proven at trial.
                                 22         107. As a further direct, foreseeable, and proximate result of said wrongful
                                 23   acts and failures to act by Defendants, Plaintiff has suffered and will continue to
                                 24   suffer substantial emotional distress, and will incur other incidental and
                                 25   consequential damages and losses, all in amounts to be proven at trial. Plaintiff
                                 26   claims such amounts as damages together with prejudgment interest pursuant to
                                 27   any provision of law providing for prejudgment interest.
                                 28   ///

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                                                           FOURTH AMENDED COMPLAINT FOR DAMAGES
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                                 1           108. As a further direct, foreseeable, and proximate result of Defendants’
                                 2    discriminatory, retaliatory, and wrongful actions against Plaintiff as alleged herein,
                                 3    Plaintiff has suffered and will continue to suffer special damages that include,
                                 4    without limitation, loss of wages, salary, benefits, and/or additional amounts of
                                 5    money she would have received but for Defendants’ discriminatory, retaliatory,
                                 6    and wrongful actions as alleged herein. Plaintiff continues to suffer the intangible
                                 7    loss of such employment-related opportunities as experience in the position
                                 8    Plaintiff held and advancement opportunities.
                                 9           109. As a further direct, foreseeable, and proximate result of said wrongful
                                 10   acts and failures to act by Defendants, Plaintiff has suffered and will continue to
                                 11   suffer humiliation, shame, despair, embarrassment, depression, and mental pain
                                 12   and anguish, causing Plaintiff to incur damages in an amount to be proven at trial.
                                 13          110. The aforementioned acts were carried out by Defendants in a
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                                 14   malicious, willful, and oppressive manner, with intent to injure and cause damage
                                 15   to Plaintiff, entitling Plaintiff to recover exemplary damages from Defendants
                                 16   under Civil Code § 3294. Defendants’ failure to engage in a timely, good-faith,
                                 17   interactive process with Plaintiff despite full awareness of Plaintiff’s disability was
                                 18   done with intent to injure Plaintiff and with intent to prevent the exercise of
                                 19   Plaintiff’s statutory rights. Defendants’ officers, directors, and managerial and
                                 20   supervisory employees participated in the unlawful conduct as alleged above, or
                                 21   had actual knowledge that the above- alleged conduct was unlawful and occurring
                                 22   but nevertheless authorized and/or ratified the practices in conscious disregard of
                                 23   the rights of Plaintiff.
                                 24          111. Under the Fair Employment and Housing Act, Plaintiff is entitled to
                                 25   an award of reasonable attorney’s fees and costs.
                                 26   ///
                                 27   ///
                                 28   ///

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                                                             FOURTH AMENDED COMPLAINT FOR DAMAGES
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                                 1                                 FIFTH CAUSE OF ACTION
                                 2                              Retaliation in Violation of FEHA
                                 3                             [Against Defendants and Does 2-50]
                                 4          112. Plaintiff incorporates herein by reference, as though fully set forth at
                                 5    length, each and every allegation and statement contained in the preceding and
                                 6    subsequent paragraphs.
                                 7          113. At all relevant times, FEHA was in full force and effect and was
                                 8    binding on Defendants.        This statute requires Defendants to refrain from
                                 9    discriminating against, harassing, and retaliating against any employee based on,
                                 10   among other things, age, race, religion, disability, national origin, sex, gender,
                                 11   requesting disability-related accommodation, and protesting any harassing and
                                 12   discriminatory conduct.      Within the time provided by law, Plaintiff filed a
                                 13   complaint with the DFEH, in full compliance with administrative requirements,
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                                 14   and received a right-to-sue letter. (See Exhibit 11 – Right to Sue Letter).
                                 15         114. Plaintiff engaged in the protected activities of requesting disability-
                                 16   related accommodations from Defendants and protesting Defendants’ harassing
                                 17   and discriminatory conduct towards Plaintiff based upon Plaintiff’s and disability
                                 18   and association with a disabled person(s).
                                 19         115. Plaintiff is informed and believes and thereon alleges that Plaintiff’s
                                 20   acts of requesting accommodation and protesting Defendants’ harassing and
                                 21   discriminatory conduct, and/or some combination of these factors, were motivating
                                 22   reasons and/or factors in Defendants’ decisions to subject Plaintiff to the
                                 23   aforementioned adverse employment actions.
                                 24         116. After Plaintiff informed Defendants of Plaintiff’s disability and
                                 25   protested the harassment and discrimination she experienced based on her
                                 26   disability and association with a disabled person, Plaintiff was subjected to
                                 27   retaliation by Defendants.
                                 28   ///

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                                 1          117. Plaintiff is informed and believes and thereon alleges that Defendants’
                                 2    retaliatory conduct against Plaintiff was motivated by Plaintiff’s complaint about
                                 3    the harassment and discrimination she suffered and by Plaintiff’s disability and
                                 4    request for disability-related accommodations.
                                 5          118. Defendants violated the FEHA by retaliating against Plaintiff and
                                 6    terminating Plaintiff’s employment for attempting to exercise Plaintiff’s protected
                                 7    rights, as set forth above.
                                 8          119. As a direct, foreseeable, and proximate result of said wrongful acts
                                 9    and failures to act by Defendants, Plaintiff has suffered and will continue to suffer
                                 10   substantial general damages and emotional distress, and will incur other incidental
                                 11   and consequential damages and losses, all in amounts to be proven at trial.
                                 12         120. As a further direct, foreseeable, and proximate result of Defendants’
                                 13   wrongful actions against Plaintiff as alleged herein, Plaintiff has suffered and will
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                                 14   continue to suffer special damages that include, without limitation, loss of wages,
                                 15   salary, benefits, and/or additional amounts of money she would have received but
                                 16   for Defendants’ retaliatory actions as alleged herein. Plaintiff also continues to
                                 17   suffer the intangible loss of such employment-related opportunities as experience
                                 18   in the position she held and advancement opportunities. Such damages are in a
                                 19   sum in excess of the jurisdictional limit of this Court, the exact amount of which is
                                 20   not yet known, which amount will be proven at trial.
                                 21         121. As a further direct, foreseeable, and proximate result of said wrongful
                                 22   acts and failures to act by Defendants, Plaintiff has suffered and will continue to
                                 23   suffer humiliation, shame, despair, embarrassment, depression, and mental pain
                                 24   and anguish, causing Plaintiff to incur damages in an amount to be proven at trial.
                                 25         122. The above-described acts of Defendants were committed by and
                                 26   through their managing agents, officers, or directors. Further, such acts were
                                 27   carried out in a deliberate, cold, callous, fraudulent, and intentional manner in order
                                 28   to injure and cause damage to Plaintiff and/or in conscious disregard of Plaintiff’s

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                                 1    rights. Such acts were despicable, and constitute malice, fraud, and/or oppression
                                 2    within the meaning of Civil Code section § 3294. Accordingly, Plaintiff is entitled
                                 3    to an assessment of punitive damages against Defendants, in an amount to be
                                 4    proven at trial.
                                 5           123. Under the Fair Employment and Housing Act, Plaintiff is entitled to
                                 6    a reasonable award of attorney’s fees and costs.
                                 7                              SIXTH CAUSE OF ACTION
                                 8          Failure to Prevent Discriminatory Practices in Violation of FEHA
                                 9                             [Against Defendants and Does 2-50]
                                 10          124. Plaintiff incorporates herein by reference, as though fully set forth at
                                 11   length, each and every allegation and statement contained in the preceding and
                                 12   subsequent paragraphs.
                                 13          125. At all relevant times, FEHA was in full force and effect and was
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                                 14   binding on Defendants.       This statute requires Defendants to refrain from
                                 15   discriminating against, harassing, and retaliating against any employee based on,
                                 16   among other things, age, religion, race, national origin, and disability. Within the
                                 17   time provided by law, Plaintiff filed a complaint with the DFEH, in full compliance
                                 18   with administrative requirements, and received a right-to-sue letter. (See Exhibit
                                 19   11 – Right to Sue Letter).
                                 20          126. Plaintiff was subjected to discrimination, harassment, and retaliation
                                 21   due to Plaintiff’s disability, association with a disabled person, her requesting
                                 22   reasonable accommodation, and her protesting Defendants’ unlawful conduct.
                                 23          127. Defendants failed to take reasonable steps to prevent the
                                 24   discrimination, harassment, and retaliation Plaintiff was subjected to despite
                                 25   Defendants’ full awareness thereof. Instead, Defendants terminated Plaintiff’s
                                 26   employment based on Plaintiff’s disability, association with a disabled person, and
                                 27   her engaging in protected activities.
                                 28   ///

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                                 1             128. As a direct, foreseeable, and proximate result of said wrongful acts
                                 2    and failures to act by Defendants, Plaintiff has suffered and will continue to suffer
                                 3    substantial general damages and emotional distress, and will incur other incidental
                                 4    and consequential damages and losses, all in amounts to be proven at trial.
                                 5             129. As a further direct and proximate result of Defendants’ wrongful
                                 6    actions against Plaintiff as alleged herein, Plaintiff has suffered and will continue
                                 7    to suffer special damages that include, without limitation, loss of wages, salary,
                                 8    benefits, and/or additional amounts of money she would have received but for
                                 9    Defendants’ unlawful conduct as alleged herein. Plaintiff also continues to suffer
                                 10   the intangible loss of such employment-related opportunities as experience in the
                                 11   position she held and advancement opportunities. Such damages are in a sum in
                                 12   excess of the jurisdictional limit of this Court, the exact amount of which is not yet
                                 13   known, which amount will be proven at trial.
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                                 14            130. As a further direct, foreseeable, and proximate result of said wrongful
                                 15   acts and failures to act by Defendants, Plaintiff has suffered and will continue to
                                 16   suffer humiliation, shame, despair, embarrassment, depression, and mental pain
                                 17   and anguish, causing Plaintiff to incur damages in an amount to be proven at trial.
                                 18            131. The above-described acts of Defendants were committed by and
                                 19   through their managing agents, officers, or directors. Further, such acts were
                                 20   carried out in a deliberate, cold, callous, fraudulent, and intentional manner in order
                                 21   to injure and cause damage to Plaintiff and/or in conscious disregard of Plaintiff’s
                                 22   rights. Such acts are despicable and constitute malice, fraud, and/or oppression
                                 23   within the meaning of Civil Code § 3294. Accordingly, Plaintiff is entitled to an
                                 24   assessment of punitive damages against Defendants, in an amount to be proven at
                                 25   trial.
                                 26            132. Under the Fair Employment and Housing Act, Plaintiff is entitled to
                                 27   an award of reasonable attorney’s fees and costs.
                                 28   ///

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                                 1                                SEVENTH CAUSE OF ACTION
                                 2                     Failure to Pay Meal and Rest Period Compensation
                                 3                            (California Labor Code §§ 226.7 and 512)
                                 4                               [Against Defendants and Does 2-50]
                                 5          133. Plaintiff incorporates herein by reference, as though fully set forth at
                                 6    length, each and every allegation and statement contained in the preceding and
                                 7    subsequent paragraphs.
                                 8          134. Plaintiff regularly worked in excess of five (5) hours a day without
                                 9    receiving a timely and uninterrupted meal period in which he was relieved of all
                                 10   duties, as required by California Labor Code §§ 226.7 and 512 and all applicable
                                 11   Wage Orders. Defendants failed and refused to compensate Plaintiff for these
                                 12   missed, untimely, or interrupted meal periods, in accordance with the premium
                                 13   compensation mandated by California Labor Code §§ 226.7 and 512 and all
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                                 14   applicable Wage Orders.
                                 15         135. Plaintiff regularly worked in excess of four (4) hours or a fraction
                                 16   thereof each workday without being provided with at least a ten-minute rest period
                                 17   during which he was relieved of all duties, as required by California Labor Code
                                 18   §§ 226.7 and 512 and all applicable Wage Orders. Defendants failed and refused
                                 19   to compensate Plaintiff for these missed, untimely, or interrupted rest periods, in
                                 20   accordance with the premium compensation mandated by California Labor Code
                                 21   §§ 226.7 and 512 and all applicable Wage Orders.
                                 22         136. California Labor Code § 226.7 and the applicable Wage Order require
                                 23   that employee meal periods must be provided no later than the end of an employee's
                                 24   fifth hour of work. A second meal period must also be provided no later than the
                                 25   end of an employee's 10th hour of work.
                                 26         137. California Labor Code § 226.7 and the applicable Wage Order also
                                 27   establish that employees are entitled to 10 minutes of rest for shifts of three and
                                 28   one-half to six hours in length, 20 minutes of rest for shifts of greater than six hours

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                                 1    up to 10 hours, 30 minutes of rest for shifts of more than 10 hours up to 14 hours,
                                 2    and so on.
                                 3          138. California Labor Code § 226.7 outlines the following penalty for
                                 4    failing to provide meal or rest periods: “the employer shall pay the employee one
                                 5    additional hour of pay at the employee’s regular rate of compensation for each
                                 6    workday that the meal or rest or recovery period is not provided.” Therefore, if an
                                 7    employer fails to provide both meal and rest periods, the penalty would be two (2)
                                 8    additional hours of pay per workday.
                                 9          139. By failing to provide meal and rest periods, Defendants deprived
                                 10   Plaintiff of his statutory rights, and by refusing to pay Plaintiff the additional wages
                                 11   required for such violations, Defendants deprived Plaintiff of his rightfully earned
                                 12   compensation. As a direct, legal, and proximate result of Defendants’ improper
                                 13   conduct, Plaintiff has been harmed and is entitled to recover such amounts, plus
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                                 14   interest thereon, attorney’s fees and costs, plus statutory and civil penalties,
                                 15   pursuant to California Labor Code § 558 and other applicable laws and regulations.
                                 16                                EIGHTH CAUSE OF ACTION
                                 17                               Non-Compliant Wage Statements
                                 18                           (California Labor Code §§ 226 and 226.3)
                                 19                            [Against Defendants and Does 2-50]
                                 20         140. Plaintiff incorporates herein by reference, as though fully set forth at
                                 21   length, each and every allegation and statement contained in the preceding and
                                 22   subsequent paragraphs.
                                 23         141. Pursuant to California Labor Code § 226(a), on a bi-weekly basis, or
                                 24   at the time of payment of wages, Defendants are required to furnish each of their
                                 25   employees with an accurate itemized statement, in writing, showing, inter alia, (1)
                                 26   gross wages earned, (2) total hours worked by the employee, (3) the number of
                                 27   piece-rate units earned and any applicable piece rate if the employee is paid on a
                                 28   piece-rate basis, (4) all deductions, provided that all deductions made on written

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                                 1    orders of the employee may be aggregated and shown as one item, (5) net wages
                                 2    earned, (6) the inclusive dates of the period for which the employee is paid, (7) the
                                 3    name of the employee and only the last four digits of his or her social security
                                 4    number or an employee identification number other than a social security number,
                                 5    (8) the name and address of the legal entity that is the employer and, if the employer
                                 6    is a farm labor contractor, the name and address of the legal entity that secured the
                                 7    services of the employer, and (9) all applicable hourly rates in effect during the pay
                                 8    period and the corresponding number of hours worked at each hourly rate by the
                                 9    employee and, if the employer is a temporary services employer, the rate of pay
                                 10   and the total hours worked for each temporary services assignment.
                                 11         142. At all relevant times, Defendants intentionally failed to furnish
                                 12   Plaintiff with an itemized statement in writing showing the true number of hours
                                 13   worked and other aforementioned requirements. Defendants failed to provide
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                                 14   Plaintiff with the opportunity to take legally mandated rest periods, or to pay
                                 15   Plaintiff one hour of wages as compensation for each rest period not provided in
                                 16   accordance with California law. As a result, Defendants failed to furnish Plaintiff
                                 17   with an itemized statement in writing showing that Plaintiff had earned one
                                 18   additional hour of pay for each workday that a rest period is not properly provided.
                                 19         143. As a direct, legal, and proximate result of Defendants’ improper
                                 20   conduct, Plaintiff has been harmed. Further, Plaintiff is informed and believes, and
                                 21   based thereon alleges, that Defendants knowingly and intentionally failed to
                                 22   provide Plaintiff with accurate itemized wage statements pursuant to California
                                 23   Labor Code § 226(a) in order to conceal their liability from Plaintiff. Pursuant to
                                 24   California Labor Code § 226(e), employees (such as Plaintiff) who suffer injury
                                 25   as a result of a knowing and intentional failure by an employer to comply with the
                                 26   provisions of California Labor Code § 226(a) are entitled to recover the greater of
                                 27   all actual damages or fifty dollars ($50.00) for the initial pay period in which a
                                 28   violation occurs and one hundred dollars ($100) per employee for each violation

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                                 1    in a subsequent pay period, not exceeding an aggregate penalty of four thousand
                                 2    dollars ($4,000), and are entitled to costs and reasonable attorney’s fees.
                                 3    Accordingly, Plaintiff is entitled to damages for the harm suffered herein.
                                 4                                NINTH CAUSE OF ACTION
                                 5            Failure to Pay Wages in a Timely Manner (Waiting Time Penalties)
                                 6                        (California Labor Code §§ 201 and 203 et seq.)
                                 7                              [Against Defendants and Does 2-50]
                                 8          144. Plaintiff incorporates herein by reference, as though fully set forth at
                                 9    length, each and every allegation and statement contained in the preceding and
                                 10   subsequent paragraphs.
                                 11         145. California Labor Code § 201 provides in relevant part: "[i]f an
                                 12   employer discharges an employee, the wages earned and unpaid at the time of
                                 13   discharge are due and payable immediately."
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                                 14         146. California Labor Code § 203 provides in relevant part: “[i]f an
                                 15   employer willfully fails to pay, without abatement or reduction, in accordance with
                                 16   Sections 201, 201.3, 201.5, 201.9, 202, and 205.5, any wages of an employee who
                                 17   is discharged or who quits, the wages of the employee shall continue as a penalty
                                 18   from the due date thereof at the same rate until paid or until an action therefor is
                                 19   commenced; but the wages shall not continue for more than 30 days.”
                                 20         147. As alleged herein, Defendants failed to pay the wages of Plaintiff, a
                                 21   former employee of Defendants, at the time the wages became due and payable.
                                 22   Further, Defendants failed to pay such overdue wages at the time of discharge.
                                 23   Thus, Defendants violated California Labor Code §§ 201 and 203.
                                 24         148. Defendants' failure to pay wages as alleged herein was willful as
                                 25   Defendants knew that Plaintiff did not receive all earned pay based on at least the
                                 26   following: (1) Defendants willfully refused to pay Plaintiff for all the time he
                                 27   worked; and (2) Plaintiff was not paid an hour’s worth of wages for each missed
                                 28   or interrupted meal and rest period that was not provided as required by California

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                                 1    Labor Code § 226.7 and the applicable Wage Orders.
                                 2          149. As a direct, legal, and proximate result of Defendants’ wrongful,
                                 3    knowing, and willful conduct, Plaintiff has been harmed and is entitled to recover,
                                 4    pursuant to California Labor Code § 203, continuing wages as a penalty from the
                                 5    due date thereof at the same rate until paid or until this action was commenced, up
                                 6    to 30 days.
                                 7                                 TENTH CAUSE OF ACTION
                                 8                                       Unfair Competition
                                 9                         (Business & Professions Code § 17200 et seq.)
                                 10                          [Against Defendants and Does 2-50]
                                 11         150. Plaintiff incorporates herein by reference, as though fully set forth at
                                 12   length, each and every allegation and statement contained in the preceding and
                                 13   subsequent paragraphs.
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                                 14         151. California Business and Professions Code § 17200 et seq. (the
                                 15   “UCL”) prohibits unfair competition, including but not limited to any unlawful,
                                 16   unfair, or fraudulent business practices.
                                 17         152. California Labor Code § 90.5(a) provides that it is the public policy
                                 18   of the State of California to vigorously enforce labor standards in order to ensure
                                 19   that employees are not required to work under substandard unlawful conditions,
                                 20   and to protect employers who comply with the law from those (such as Defendants)
                                 21   who attempt to gain a competitive advantage at the expense of their workers by
                                 22   failing to comply with minimum labor standards.
                                 23         153. The unlawful conduct of Defendants alleged herein constitutes unfair
                                 24   competition within the meaning of California Business and Professions Code §
                                 25   17200. Due to their unfair and unlawful business practices in violation of the
                                 26   California Fair Employment and Housing Act, Defendants have gained a
                                 27   competitive advantage over other comparable companies doing business in the
                                 28   State of California that comply with their obligations to, among other things,

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                                 1    employ individuals regardless of their age, race, national origin, disability, and
                                 2    other protected status, as well as to provide reasonable disability-related
                                 3    accommodation to known disabled employees, or at a minimum, to engage in a
                                 4    timely, good-faith, interactive process to determine whether such reasonable
                                 5    accommodation could be provided.
                                 6          154. Moreover, Defendants' policies and practices of failing to pay the
                                 7    legally required wages, failing to provide duty-free meal and/or rest periods, failing
                                 8    to provide compliant wage statements, and failing to timely pay all wages owed,
                                 9    as set forth above, violate the UCL in that:
                                 10             a. These are unlawful business practices by definition;
                                 11             b. Defendants’ practices are unethical, unscrupulous, and substantially
                                 12                injurious to consumers. The harm to Plaintiff and to members of the
                                 13                general public outweighs the utility, if any, of Defendants' practices;
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                                 14                and
                                 15             c. Defendants' practices have misled Plaintiff and members of the
                                 16                general public.
                                 17         155. The unlawful, unfair, and fraudulent business practices of Defendants,
                                 18   as described above, present a continuing threat to the public in that consumers
                                 19   throughout California have suffered and continue to suffer an injury in fact and lost
                                 20   money as a result of Defendants’ unlawful, unfair, and fraudulent acts or practices.
                                 21   In addition, Defendants have been unjustly enriched as a result of their conduct.
                                 22   Plaintiff and members of the general public have no other adequate remedy in law
                                 23   in that absent equitable relief from the Court, Defendants are likely to continue to
                                 24   injure consumers, reap unjust enrichment, and harm the public interest, thus
                                 25   engendering a multiplicity of judicial proceedings.
                                 26         156. As a direct, legal, and proximate result of the above-described actions
                                 27   by Defendants, individually and collectively, Plaintiff has suffered and will
                                 28   continue to suffer special and general damages in a sum in excess of the

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                                 1    jurisdictional limit of this Court, the exact amount of which is not yet known,
                                 2    which amount will be proven at trial.
                                 3          157. Plaintiff is entitled to restitution of monies owed to him during the
                                 4    relevant time period as a result of Defendants' unlawful, unfair, and fraudulent
                                 5    conduct, and to injunctive relief.
                                 6          158. Plaintiff is entitled to restitution of the unpaid amounts, as an
                                 7    equitable remedy, and interest at the rate of ten percent per annum, costs of suit,
                                 8    and reasonable attorney's fees pursuant to the underlying claims as alleged herein.
                                 9          159. Pursuant to California Business and Professions Code § 17203, this
                                 10   Court may order paid the full amounts wrongfully retained by Defendants to
                                 11   Plaintiff, for the time period of his employment and continuing thereafter. Plaintiff
                                 12   will, upon leave of Court, amend this Complaint to specifically allege such
                                 13   wrongfully retained amounts when they are ascertained.
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                                 14         160. Further, injunctive relief is necessary and appropriate to prevent
                                 15   Defendants from repeating the wrongful business practices alleged herein.
                                 16         161. Plaintiff’s success in this action will enforce important rights affecting
                                 17   the public interest, and in that regard, Plaintiff sues on behalf of the public as well.
                                 18   Plaintiff seeks and is entitled to monies owed and unpaid, an injunction, an
                                 19   equitable accounting, and all other equitable relief required to remedy Defendants'
                                 20   failure to pay the required monies.
                                 21                              ELEVENTH CAUSE OF ACTION
                                 22                               Unlawful Deductions from Wages
                                 23                           [Against Defendants and Does 2-50]
                                 24         162. Plaintiff incorporates herein by reference, as though fully set forth at
                                 25   length, each and every allegation and statement contained in the preceding and
                                 26   subsequent paragraphs.
                                 27         163. California Labor Code § 221 provides: “It shall be unlawful for any
                                 28   employer to collect or receive from an employee any part of wages theretofore paid

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                                 1    by said employer to said employee.”
                                 2          164. California Labor Code § 223 provides: “Where any statute or contract
                                 3    requires an employer to maintain the designated wage scale, it shall be unlawful to
                                 4    secretly pay a lower wage while purporting to pay the wage designated by statute
                                 5    or by contract.”
                                 6          165. These and other related statutes, along with California’s fundamental
                                 7    public policy protecting wages and wage scales, prohibit employers from
                                 8    subjecting employees to unanticipated or unpredicted reductions in their wages;
                                 9    making employees the insurers of their employer’s business losses; otherwise
                                 10   passing the ordinary business losses of the employer onto the employee; taking
                                 11   deductions from wages for business losses unless the employer can establish that
                                 12   the loss was caused by a dishonest or willful act, or gross negligence of the
                                 13   employee; or taking other unpredictable deductions that may impose a special
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                                 14   hardship on employees.
                                 15         166. Defendants have violated the California Labor Code by unlawfully
                                 16   taking deductions from the compensation of Plaintiff to cover certain ordinary
                                 17   business expenses of Defendants, including the reimbursement of Plaintiff’s
                                 18   expenses.
                                 19         167. Because Defendants took unlawful deductions from the compensation
                                 20   of Plaintiff, Defendants are liable to Plaintiff for the compensation that should have
                                 21   been paid but for the unlawful deductions, pursuant to California Labor Code §§
                                 22   221 and 223.
                                 23         168. By unlawfully deducting wages and failing to pay Plaintiff,
                                 24   Defendants are also liable for penalties, reasonable attorney’s fees, and costs under
                                 25   California Labor Code §§ 218.5 and 1194.
                                 26   ///
                                 27   ///
                                 28   ///

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                                 1                              TWELVETH CAUSE OF ACTION
                                 2                  Wrongful Termination in Violation of Public Policy
                                 3                            [Against Defendant and Does 2-50]
                                 4          169. Plaintiff incorporates herein by reference, as though fully set forth at
                                 5    length, each and every allegation and statement contained in the preceding and
                                 6    subsequent paragraphs.
                                 7          170. Plaintiff’s employment was terminated in retaliation for Plaintiff's
                                 8    complaints about Defendants' unlawful conduct in the form of, among other things,
                                 9    harassment, disability discrimination, gender discrimination, and retaliation.
                                 10   Accordingly, said termination violated fundamental public policies of the State of
                                 11   California.
                                 12         171. In engaging in the conduct set forth above, Defendants illegally
                                 13   terminated Plaintiff's employment.
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                                 14         172. As a direct, foreseeable, and proximate result of said wrongful acts
                                 15   and failures to act by Defendants, Plaintiff has suffered and will continue to suffer
                                 16   substantial general damages and emotional distress, and will incur other incidental
                                 17   and consequential damages and losses, all in amounts to be proven at trial.
                                 18         173. As a further direct, foreseeable, and proximate result of Defendants’
                                 19   wrongful actions against Plaintiff as alleged herein, Plaintiff has suffered and will
                                 20   continue to suffer special damages that include, without limitation, loss of wages,
                                 21   salary, benefits, and/or additional amounts of money she would have received but
                                 22   for Defendants’ wrongful conduct as alleged herein. Plaintiff also continues to
                                 23   suffer the intangible loss of such employment-related opportunities as experience
                                 24   in the position she held and advancement opportunities. Such damages are in
                                 25   excess of the jurisdictional limit of this Court, the exact amount of which is not yet
                                 26   known, which amount will be proven at trial.
                                 27         174. As a further direct, foreseeable, and proximate result of said wrongful
                                 28   acts and failures to act by Defendants, Plaintiff has suffered and will continue to

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                                 1    suffer humiliation, shame, despair, embarrassment, depression, and mental pain
                                 2    and anguish, causing Plaintiff to incur damages in an amount to be proven at trial.
                                 3          175. The above-described acts of Defendants were committed by and
                                 4    through their managing agents, officers, or directors. Further, such acts were
                                 5    carried out in a deliberate, cold, callous, fraudulent, and intentional manner, with
                                 6    intent to injure and cause damage to Plaintiff and/or in conscious disregard of
                                 7    Plaintiff’s rights. Such acts are despicable and constitute malice, fraud, and /or
                                 8    oppression within the meaning of Civil Code § 3294. Accordingly, Plaintiff is
                                 9    entitled to an assessment of punitive damages against Defendants, in an amount to
                                 10   be proven at trial.
                                 11                         THIRTEENTH CAUSE OF ACTION
                                 12           Failure to Permit Inspection of Personnel and Payroll Records
                                 13                            (Labor Code §§ 226 and 1198.5)
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                                 14                          [Against Defendants and Does 2-50]
                                 15         176. Plaintiff incorporates herein by reference, as though full set forth at
                                 16   length, each and every allegation and statement contained in the preceding and
                                 17   subsequent paragraphs.
                                 18         177. Labor Code § 1198.5 requires an employer, within thirty (30) days of
                                 19   a written request thereof, to inspect or receive a copy of an employee’s personnel
                                 20   and payroll records. An employer’s failure to do so subjects the employer to a
                                 21   $750.00 penalty, payable to the employee.
                                 22         178. Plaintiff properly requested that Defendants produce to Plaintiff,
                                 23   Plaintiff’s personnel, and payroll documents pursuant to Labor Code §§ 1198.5.
                                 24         179. Defendants failed to permit Plaintiff’s inspection of Plaintiff’s
                                 25   personnel and payroll records and failed to produce a copy of Plaintiff’s personnel
                                 26   and payroll records to Plaintiff. Accordingly, Defendants were in violation of the
                                 27   obligations and provisions of Labor Code § 1198.5.
                                 28   ///

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                                 1          180. As a result of Defendants’ failure and refusal to comply with Labor
                                 2    Code § 1198.5, Plaintiff is entitled to recover from Defendants a civil penalty of
                                 3    $750.00.
                                 4          181. As a result of Defendants’ failure and refusal to comply with Labor
                                 5    Code § 226(f), Plaintiff is entitled to recover from Defendants a civil penalty of
                                 6    $750.00.
                                 7          182. Pursuant to Labor Code §§ 1198.5(l) and 226(h), Plaintiff requests a
                                 8    reasonable award of attorneys’ fees and costs.
                                 9                              DEMAND FOR JURY TRIAL
                                 10         Plaintiff demands a trial by jury in this action.
                                 11                                   Prayer For Relief
                                 12         Plaintiff prays for judgment in her favor and against Defendants, and each
                                 13   of them, as follows:
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                                 14         1.     For general damages according to proof at trial;
                                 15         2.     For special damages according to proof at trial;
                                 16         3.     For a declaratory judgment that Defendants have violated the
                                 17   California Fair Employment and Housing Act, California Labor Code, and
                                 18   California Business and Professions Code.
                                 19         4.     For exemplary and punitive damages according to proof at trial;
                                 20         5.     For an award of back and front pay;
                                 21         6.     For an order enjoining Defendants, and their employees, agents, and
                                 22   any and all other persons acting on Defendants’ behalf or under Defendants’
                                 23   control from violating the California Fair Employment and Housing Act,
                                 24   California Government Code Sections 12940 et seq.;
                                 25         7.     For an order that Defendants institute and implement policies and
                                 26   practices to ensure that employees are not subjected to discrimination, harassment,
                                 27   and retaliation based on disability, association with a disabled person(s),
                                 28   requesting disability-related accommodation, protesting discrimination and

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                                 1    harassment, or other protected status or activity under the Fair Employment and
                                 2    Housing Act;
                                 3          8.    For an order awarding Plaintiff restitution;
                                 4          9.    For statutory penalties, including civil penalties, pursuant to
                                 5    California Labor Code §§ 201, 203, 226(e), 226.7, and 558, and Business and
                                 6    Professions Code § 17203;
                                 7          10.   For an award of attorney’s fees and costs in accordance with law; and
                                 8          11.   For such other and further relief as the court may deem just and
                                 9    proper.
                                 10
                                 11   DATED: May 31, 2022                   WILSHIRE LAW FIRM
                                                                            A Professional Law Corporation
                                 12
                                 13
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                                                                             By: /s/ Nathan Kingery
 WILSHIRE LAW FIRM, PLC




                                                                                Nathan Kingery, Esq.
                                 14                                             Attorney for Plaintiff,
                                                                                KIMYA PHILLIPS
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November 26, 2019

Kimya Phillips
16462 Pine Wood St
Fontana, CA 92508

Dear Kimya:

We are pleased to extend to you an offer of employment with Select Rehabilitation, LLC. We are a growing team of
professionals dedicated to providing exceptional physical, occupational and speech language pathology services to a wide
variety of patients in skilled nursing, hospital, outpatient and other settings. We believe that your skills will play a vital part
in providing quality service to our patients and customers.

Most of the employment packet will need to be completed electronically; however, some documents will need to be
printed, manually completed, and returned prior to your first day.

You will be employed as a Full Time Physical Therapist Assistant with your primary facility being Rialto Post Acute, which
may change from time to time in Select Rehabilitation's sole discretion. In addition, occasional travel to other facilities may
be necessary during periods of low patient volume or other Company needs.

Your employment will begin on December 1, 2019. Your initial rate of pay will be $40.00 per hour, which may be changed
from time to time at Select Rehabilitation, LLC's discretion. This offer of employment is subject to a reference and
background check satisfactory to Select Rehab. At all times during your employment with Select Rehabilitation, LLC, you
will be expected to comply with all of its policies, rules and regulations, as may be modified at any time in Select
Rehabilitation's sole discretion.

Full and Part Time employees are eligible to elect benefits. Please see your Benefits Summary for further details.
Enrollment instructions and deadlines can be found on the Self Service Benefits Website Information form.

Your employment with Select Rehabilitation at all times will be at-will. That is, either Select Rehabilitation or you may
terminate the employment relationship at any time and for any reason, with or without cause or notice. However, we ask
that you provide Select Rehabilitation, LLC with a (30) thirty-day notice in the event you decide to voluntarily terminate
your employment in order to assist us in the transition period. Your failure to do so may result in ineligibility for rehire.

Please electronically sign to signify your acceptance and understanding of the terms and conditions of your employment
no later than (30) thirty days from the date of this letter.

Sincerely,




_____________________________________

Beth Normandy, Human Resources
Select Rehabilitation, LLC

By clicking "Sign & Submit", I am acknowledging agreement of the terms and conditions set forth in my offer letter. I
understand that my electronic signature serves the same function as a manually written signature.

                 ** E-Signed by Kimya Phillips on Tue, 11/26/2019 at 11:36 PM (CST) **




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From:                            Leave Department <loa@selectrehab.com>
Sent:                            Wednesday, April 08, 2020 2:54 PM
To:                              kimyalp@gmail.com
Subject:                         LOA
Attachments:                     Following Quarantine Letter.doc


Good afternoon Kimya,
Please see the attached document for your leave of absence request.
Thank you,

Jennifer Hoff
Human Resources
Select Rehabilitation, LLC
P: 847-441-5593 ext 163
F: 847-730-2934




                                                          1
                                                                                   Select000039
Case 5:21-cv-01719-JWH-SP           Document 36 Filed 05/31/22            Page 44 of 73 Page ID
                                           #:655




 April 8, 2020


 Kimya Phillips
 16462 Pine Wood St.
 Fontana, CA 92508


 Dear Kimya:

 Our records indicate that your quarantine period has exhausted, but have not returned to work.
 Effective immediately through April 23, 2020, you have been transitioned to a Personal Leave
 of Absence. This leave will be; 1. granted in two (2) week increments (based on patient and
 staffing needs), 2. does not protect your job and benefits 3. your benefits (Medical, Dental,
 Vision) will be transferred to the COBRA plans when your PTO exhaust.

 Please do not hesitate to contact me if you have any further questions or would like to discuss
 this matter further.


 Sincerely,

 Jennifer Hoff
 Human Resources
 Select Rehabilitation, LLC




                                                                                       Select000040
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                                   #:656




                   EXHIBIT 4
Case 5:21-cv-01719-JWH-SP   Document 36 Filed 05/31/22   Page 46 of 73 Page ID
                                   #:657
Case 5:21-cv-01719-JWH-SP   Document 36 Filed 05/31/22   Page 47 of 73 Page ID
                                   #:658




                   EXHIBIT 5
Case 5:21-cv-01719-JWH-SP   Document 36 Filed 05/31/22   Page 48 of 73 Page ID
                                   #:659
Case 5:21-cv-01719-JWH-SP   Document 36 Filed 05/31/22   Page 49 of 73 Page ID
                                   #:660
Case 5:21-cv-01719-JWH-SP   Document 36 Filed 05/31/22   Page 50 of 73 Page ID
                                   #:661
Case 5:21-cv-01719-JWH-SP   Document 36 Filed 05/31/22   Page 51 of 73 Page ID
                                   #:662
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                                   #:663




                   EXHIBIT 6
Case 5:21-cv-01719-JWH-SP   Document 36 Filed 05/31/22   Page 53 of 73 Page ID
                                   #:664
Case 5:21-cv-01719-JWH-SP   Document 36 Filed 05/31/22   Page 54 of 73 Page ID
                                   #:665
Case 5:21-cv-01719-JWH-SP   Document 36 Filed 05/31/22   Page 55 of 73 Page ID
                                   #:666




                   EXHIBIT 7
      Case 5:21-cv-01719-JWH-SP              Document 36 Filed 05/31/22            Page 56 of 73 Page ID
                                                    #:667



From:                            Lindsey Aldridge <laldridge@selectrehab.com>
Sent:                            Thursday, April 23, 2020 3:08 PM
To:                              Jennifer Hoff
Cc:                              Ed Luberski
Subject:                         RE: Kimya Phillips

Follow Up Flag:                  Follow up
Flag Status:                     Flagged


Hi Jennifer,
We can give her an additional week, we need her back to work 5/1.

From: Jennifer Hoff
Sent: Wednesday, April 22, 2020 8:28 AM
To: Lindsey Aldridge
Cc: Ed Luberski
Subject: Kimya Phillips

Hi Lindsey,
Kimya is needing to be off work until 5.16.20. Can you accommodate as she does not qualify for FMLA?
Thank you,

Jennifer Hoff
Human Resources
Select Rehabilitation, LLC
P: 847-441-5593 ext 163
F: 847-730-2934




                                                          1
                                                                                                Select000041
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                                   #:668




                   EXHIBIT 8
      Case 5:21-cv-01719-JWH-SP           Document 36 Filed 05/31/22     Page 58 of 73 Page ID
                                                 #:669



From:                           Leave Department <loa@selectrehab.com>
Sent:                           Sunday, April 26, 2020 1:51 PM
To:                             Kimya Phillips
Subject:                        LOA Letter
Attachments:                    Approved Extension Letter.doc


Good afternoon Kimya,
Please see the attached document.
Thank you,

Jennifer Hoff
Human Resources
Select Rehabilitation, LLC
P: 847-441-5593 ext 163
F: 847-730-2934




                                                      1
                                                                                  Select000035
Case 5:21-cv-01719-JWH-SP          Document 36 Filed 05/31/22             Page 59 of 73 Page ID
                                          #:670




    April 26, 2020

    Kimya Phillips
    16462 Pine Wood St.
    Fontana, CA 92508

    Dear Kimya:

    Our records indicate that you exhausted all your time off benefits on April 22, 2020. On
    April 22, 2020, you informed us that you need more time off.

    However, Select is willing to accommodate your request for time off by providing you
    with an unpaid personal leave of absence through April 30, 2020. This leave extension
    will be granted on the assumption that you will be available to return to regular
    employment on May 1, 2020. On May 1, 2020, you will be restored to your position to
    the extent possible. However, it is important that you are aware that additional time off,
    if any, shall not be covered under Select Rehabilitation’s FMLA Policy. You will not
    accrue PTO benefits or time toward seniority during your unpaid medical leave and you
    will be placed on Inactive Status.

    Upon the expiration of the unpaid personal leave, you will be restored to your position to
    the extent possible and you are required to provide us with a fitness-for-duty certificate
    before you will be permitted to return to work.

    You will receive a COBRA package from WageWorks. If you wish to continue your
    health/dental/vision insurance complete the necessary paperwork and return to
    WageWorks.

    If you have any questions, please feel free to contact me.

    Sincerely,



    Jennifer Hoff
    Human Resources
    Select Rehabilitation, LLC.




                                                                                      Select000036
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                                   #:671




                   EXHIBIT 9
      Case 5:21-cv-01719-JWH-SP            Document 36 Filed 05/31/22    Page 61 of 73 Page ID
                                                  #:672



From:                           Leave Department <loa@selectrehab.com>
Sent:                           Friday, May 01, 2020 1:28 PM
To:                             Kimya Phillips
Subject:                        LOA Letter
Attachments:                    LOA Letter.doc


Good afternoon Kimya,
Per our conversation, please see the attached document.
Thank you,

Jennifer Hoff
Human Resources
Select Rehabilitation, LLC
P: 847-441-5593 ext 163
F: 847-730-2934




                                                          1
                                                                                  Select000037
Case 5:21-cv-01719-JWH-SP          Document 36 Filed 05/31/22            Page 62 of 73 Page ID
                                          #:673




    May 1, 2020

    Kimya Phillips
    16462 Pine Wood St.
    Fontana, CA 92508

    Dear Kimya:

    Our records indicate that you exhausted all your time off benefits on April 30, 2020. On
    May 1, 2020, you informed Human Resources that you will need additional time off due
    to your medical circumstances.

    Unfortunately, Select will not be able to hold your position and you will be terminated
    effective immediately. However, please contact me as soon as you are able to return to
    work. We will review our business needs at that time to determine if there is a position
    available that is mutually acceptable.

    You will be able to continue your Medical, Dental, and Vision insurance with
    WageWorks, our COBRA provider.

    If you have any questions, please feel free to contact me.

    Sincerely,



    Jennifer Hoff
    Human Resources
    Select Rehabilitation, LLC.




                                                                                     Select000038
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                                   #:674




                 EXHIBIT 10
  Case 5:21-cv-01719-JWH-SP                             Document 36 Filed 05/31/22                                   Page 64 of 73 Page ID
                                                               #:675

                                                                                       CALIFORNIA EMPLOYEE SEPARATION STATUS CHANGE FORM

   Clock #:                  Employee Name (Last Name, First Name):                         Discipline:                Status (FT, PT or PRN):

                       Kimya Phillips                                                 PTA                       FT
   Manager’s Name:                                                       What is the Employee’s Last Date of Work:
Lindsey Aldridge                                                   3/25/20
   Primary Facility - Location City, State:
Rialto Post Acute, Riverside CA

                                                                        TYPE OF SEPARATION

              EMPLOYEE RESIGNATION (Please complete the following and please include a copy of the resignation letter):

   DID EMPLOYEE GIVE NOTICE? ____YES ____NO                        # of DAYS ______
        Another position                                                                  Other
        Candidate withdrew acceptance                                                     Quality of work
        Deceased                                                                          Relocation
        Pay/Benefits issue                                                                Retirement

                                        DOES EMPLOYEE WISH LAST CHECK TO BE MAILED OR DIRECT DEPOSITED?

        Mail                                                                        Direct Deposit
                      3 days prior, please send a copy of the Labor Log for any hours owed since the last pay period end date.
                                                                                                                             0
               In addition, how many hours are projected for the employee’s remaining day/s (base it on scheduled hours)? ______
       These two numbers will be combined for the employee’s final check. Any changes after this process will require a Protime Correction.

          CONTRACT TERMINATION (Please complete the following):

   LAST DATE OF CONTRACT? _____________________

    ■         EMPLOYEE TERMINATION (You must contact Human Resources, and please complete the following):

       Background check                                                                   No pay in 6 months
       Company rule violation                                                             PRN – Not used recently-
       Compliance                                                                         Reduction in force
       Failed to return from FMLA                                                         Refused assignment/transfer
       Failed to return from LOA                                                          TB/Physical expired
       License expired                                                                    Unsatisfactory performance
       No Call/No Show                                                                    Contractor- Term

                               THE EMPLOYEE’S LAST CHECK WILL BE OVERNIGHTED TO THE FACILITY FOR DELIVERY.

                            Please attach a copy of the Labor Log for any hours owed since the last pay period end date.
                                                                                                                            0
               In addition, how many hours are projected for the employee’s remaining day/s (base it on scheduled hours)? ______
       These two numbers will be combined for the employee’s final check. Any changes after this process will require a Protime Correction.


                                                                            COMPLETE FOR
   MANAGER’S USE:                                                         Bonuses ______________________                Insurance Notification:
                                                     OFFICE USE:




    Company Materials Returned:                                           Licenses/Expenses ______________                Health    ____________
    ____ Name Badge                                                       PTO Due ______________________                  Dental    ____________
    ____ Keys Returned                                                    Direct Deposit Stopped ___________              Voluntary ____________
    ____ Phone/Pager/Equipment                                            401-K Notification Sent ___________           Cobra Notification Sent ___________


                     Lindsey Aldridge
MANAGER’S SIGNATURE: ___                                                                                    DATE
                                                                                                                   5/1/2020                          ______


                                                                                                                                       Select000034
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                                   #:676




                 EXHIBIT 11
Case 5:21-cv-01719-JWH-SP                         Document 36 Filed 05/31/22                Page 66 of 73 Page ID
                                                         #:677
        STATE OF CALIFORNIA | Business, Consumer Services and Housing Agency                          GAVIN NEWSOM, GOVERNOR

        DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                           KEVIN KISH, DIRECTOR

        2218 Kausen Drive, Suite 100 I Elk Grove I CA I 95758
        (800) 884-1684 (Voice) I (800) 700-2320 (TTY) | California’s Relay Service at 711
        http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov


 December 2, 2021

 Kimya Phillips
 c/o 3055 Wilshire Blvd., 12th Floor
 Los Angeles, CA 90010


 RE:    Notice to Complainant
        DFEH Matter Number: 202112-15535702
        Right to Sue: Phillips / Select Rehabilitation, LLC et al.

 Dear Kimya Phillips:

 Attached is a copy of your complaint of discrimination filed with the Department of Fair
 Employment and Housing (DFEH) pursuant to the California Fair Employment and
 Housing Act, Government Code section 12900 et seq. Also attached is a copy of your
 Notice of Case Closure and Right to Sue.

 Pursuant to Government Code section 12962, DFEH will not serve these
 documents on the employer. You must serve the complaint separately, to all named
 respondents. If you do not have an attorney, you must serve the complaint yourself.
 Please refer to the attached Notice of Case Closure and Right to Sue for information
 regarding filing a private lawsuit in the State of California. A courtesy "Notice of Filing of
 Discrimination Complaint" is attached for your convenience.

 Be advised that the DFEH does not review or edit the complaint form to ensure that it
 meets procedural or statutory requirements.

 Sincerely,


 Department of Fair Employment and Housing




                                                                                                      DFEH-ENF 80 RS
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                                                         #:678
        STATE OF CALIFORNIA | Business, Consumer Services and Housing Agency                          GAVIN NEWSOM, GOVERNOR

        DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                           KEVIN KISH, DIRECTOR

        2218 Kausen Drive, Suite 100 I Elk Grove I CA I 95758
        (800) 884-1684 (Voice) I (800) 700-2320 (TTY) | California’s Relay Service at 711
        http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov


 December 2, 2021

 RE:    Notice of Filing of Discrimination Complaint
        DFEH Matter Number: 202112-15535702
        Right to Sue: Phillips / Select Rehabilitation, LLC et al.

 To All Respondent(s):

 Enclosed is a copy of a complaint of discrimination that has been filed with the
 Department of Fair Employment and Housing (DFEH) in accordance with Government
 Code section 12960. This constitutes service of the complaint pursuant to Government
 Code section 12962. The complainant has requested an authorization to file a lawsuit. A
 copy of the Notice of Case Closure and Right to Sue is enclosed for your records.

 This matter may qualify for DFEH’s Small Employer Family Leave Mediation pilot
 program. Under this program, established under Government Code section 12945.21,
 a small employer with 5 -19 employees, charged with violation of the California Family
 Rights Act, Government Code section 12945.2, has the right to participate in DFEH’s
 free voluntary mediation service. Under this program both the employee requesting an
 immediate right to sue and the employer charged with the violation may request that all
 parties participate in DFEH’s free voluntary mediation service. A request for mediation
 must be made within 30 days of receipt of the Notice of Case Closure and Right to Sue.
 If mediation is requested, the employee is prohibited from filing a civil action until
 mediation is complete. The employee’s statute of limitations to file a civil action,
 including for all related claims not arising under section 12945.2, is tolled from DFEH’s
 receipt of a mediation request under section 12945.21 until mediation is complete. To
 request DFEH Small Employer Family Leave Mediation, email
 DRDOnlinerequests@dfeh.ca.gov and include the DFEH matter number indicated on
 the Right to Sue notice.

 Please refer to the attached complaint for a list of all respondent(s) and their contact
 information.

 No response to DFEH is requested or required.

 Sincerely,


 Department of Fair Employment and Housing




                                                                                                      DFEH-ENF 80 RS
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                                                         #:679
        STATE OF CALIFORNIA | Business, Consumer Services and Housing Agency                          GAVIN NEWSOM, GOVERNOR

        DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                           KEVIN KISH, DIRECTOR

        2218 Kausen Drive, Suite 100 I Elk Grove I CA I 95758
        (800) 884-1684 (Voice) I (800) 700-2320 (TTY) | California’s Relay Service at 711
        http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov


 December 2, 2021

 Kimya Phillips
 c/o 3055 Wilshire Blvd., 12th Floor
 Los Angeles, CA 90010

 RE:    Notice of Case Closure and Right to Sue
        DFEH Matter Number: 202112-15535702
        Right to Sue: Phillips / Select Rehabilitation, LLC et al.

 Dear Kimya Phillips:

 This letter informs you that the above-referenced complaint filed with the Department of
 Fair Employment and Housing (DFEH) has been closed effective December 2, 2021
 because an immediate Right to Sue notice was requested.

 This letter is also your Right to Sue notice. According to Government Code section
 12965, subdivision (b), a civil action may be brought under the provisions of the Fair
 Employment and Housing Act against the person, employer, labor organization or
 employment agency named in the above-referenced complaint. The civil action must be
 filed within one year from the date of this letter.

 This matter may qualify for DFEH’s Small Employer Family Leave Mediation pilot
 program. Under this program, established under Government Code section 12945.21, a
 small employer with 5 -19 employees, charged with violation of the California Family
 Rights Act, Government Code section 12945.2, has the right to participate in DFEH’s
 free voluntary mediation service. Under this program both the employee requesting an
 immediate right to sue and the employer charged with the violation may request that all
 parties participate in DFEH’s free voluntary mediation service. A request for mediation
 must be submitted to the DFEH within 30 days of receipt of the Notice of Case Closure
 and Right to Sue. If mediation is requested, the employee is prohibited from filing a civil
 action until mediation is complete. The employee’s statute of limitations to file a civil
 action, including for all related claims not arising under section 12945.2, is tolled from
 DFEH’s receipt of a mediation request under section 12945.21 until mediation is
 complete. To request DFEH Small Employer Family Leave Mediation, email
 DRDOnlinerequests@dfeh.ca.gov and include the DFEH matter number indicated on
 the Right to Sue notice.

 To obtain a federal Right to Sue notice, you must contact the U.S. Equal Employment
 Opportunity Commission (EEOC) to file a complaint within 30 days of receipt of this
 DFEH Notice of Case Closure or within 300 days of the alleged discriminatory act,
 whichever is earlier.

 Sincerely,


                                                                                                      DFEH-ENF 80 RS
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                                                        #:680
       STATE OF CALIFORNIA | Business, Consumer Services and Housing Agency                          GAVIN NEWSOM, GOVERNOR

       DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                           KEVIN KISH, DIRECTOR

       2218 Kausen Drive, Suite 100 I Elk Grove I CA I 95758
       (800) 884-1684 (Voice) I (800) 700-2320 (TTY) | California’s Relay Service at 711
       http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov




 Department of Fair Employment and Housing




                                                                                                     DFEH-ENF 80 RS
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                                                 #:681



 1                        COMPLAINT OF EMPLOYMENT DISCRIMINATION
                                BEFORE THE STATE OF CALIFORNIA
 2                      DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
                        Under the California Fair Employment and Housing Act
 3
                                     (Gov. Code, § 12900 et seq.)
 4
      In the Matter of the Complaint of
 5     Kimya Phillips                                                 DFEH No. 202112-15535702

 6                                    Complainant,
      vs.
 7
 8     Select Rehabilitation, LLC
       1471 S Riverside Avenue
 9     Rialto, CA 92376

10     Select Rehabilitation
       1471 S Riverside Avenue
11     Rialto, CA 92376

12     Rialto Post Acute
       1471 S Riverside Avenue
13     Rialto, CA 92376
14     Select Rehabilitation LLC
       1471 S Riverside Avenue
15
       Rialto, CA 92376
16
       Rialto Post Acute Care Center
17     1471 S Riverside Avenue
       Rialto, CA 92376
18
       Rialto Post Acute Center
19     1471 S Riverside Avenue
       Rialto, CA 92376
20
       Select Rehabilitation, LLC
21     2600 Compass Road
       Glenview, CA 60026
22
       Lindsey Aldridge
23     1471 S Riverside Avenue
       Rialto, CA 92376
24
25     Jennifer Hoff

26                                                    -1-
                                     Complaint – DFEH No. 202112-15535702
27
      Date Filed: December 2, 2021
28
                                                                                      DFEH-ENF 80 RS
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                                                 #:682



 1     1471 S Riverside Avenue
       Rialto, CA 92376
 2
       Cesar Ciruela
 3     1471 S Riverside Avenue
       Rialto, CA 92376
 4
       Respondent’s agent for service of process: CT
 5     Corporation System
       330 N Brand Blvd. Suite 700
 6
       Glendale, CA 91203
 7
                                       Respondents
 8
 9
      1. Respondent Select Rehabilitation, LLC is an employer subject to suit under the California
10    Fair Employment and Housing Act (FEHA) (Gov. Code, § 12900 et seq.).
11    2.Complainant is naming Select Rehabilitation business as Co-Respondent(s).
      Complainant is naming Rialto Post Acute business as Co-Respondent(s).
12
      Complainant is naming Select Rehabilitation LLC business as Co-Respondent(s).
13    Complainant is naming Rialto Post Acute Care Center business as Co-Respondent(s).
      Complainant is naming Rialto Post Acute Center business as Co-Respondent(s).
14    Complainant is naming Select Rehabilitation, LLC business as Co-Respondent(s).
      Complainant is naming Lindsey Aldridge individual as Co-Respondent(s).
15    Complainant is naming Jennifer Hoff individual as Co-Respondent(s).
      Complainant is naming Cesar Ciruela individual as Co-Respondent(s).
16    Complainant is naming Respondent’s agent for service of process: CT Corporation
      System business as Co-Respondent(s).
17
      3. Complainant Kimya Phillips, resides in the City of Los Angeles, State of CA.
18
19 4. Complainant alleges that on or about May 1, 2020, respondent took the following
   adverse actions:
20
21 Complainant was harassed because of complainant's disability (physical or mental), age
      (40 and over), other, family care or medical leave (cfra).
22
      Complainant was discriminated against because of complainant's disability (physical or
23    mental), age (40 and over), other, family care or medical leave (cfra) and as a result of the
      discrimination was terminated, laid off, reprimanded, asked impermissible non-job-related
24    questions, denied any employment benefit or privilege, denied reasonable accommodation
      for a disability, other, denied work opportunities or assignments, denied family care or
25    medical leave (cfra).

26                                                    -2-
                                     Complaint – DFEH No. 202112-15535702
27
      Date Filed: December 2, 2021
28
                                                                                            DFEH-ENF 80 RS
     Case 5:21-cv-01719-JWH-SP            Document 36 Filed 05/31/22           Page 72 of 73 Page ID
                                                 #:683



 1
      Complainant experienced retaliation because complainant reported or resisted any form
 2 of discrimination or harassment, requested or used a disability-related accommodation,
      requested or used family care or medical leave (cfra) and as a result was terminated, laid
 3 off, reprimanded, asked impermissible non-job-related questions, denied any employment
      benefit or privilege, denied reasonable accommodation for a disability, other, denied work
 4 opportunities or assignments, denied family care or medical leave (cfra).
 5
      Additional Complaint Details: Complainant was harassed, discriminated against, retaliated
 6
      against, Respondents failed to prevent harassment, discrimination and retaliation.
 7    Respondents, their agents, joint employers, principals subsidiaries, principals and alter
      egos, and Does 1 through 100, whose identity is known to respondents, harassed,
 8    discriminated and retaliated against complainant and subjected complainant to disparate
      treatment and disparate impact discrimination. Complainant was a member of a protected
 9    class, was associated with a member of a protected class, was perceived to be a member of
      a protected class, was associated with a member of a protected class, and respondents’
10    mistreatment of complainant was in violation of FEHA, Government Code, 12926, and
      12940 et seq. The harassment, discrimination and retaliation were continuing until
11    respondents fired Complainant. Respondents failed to investigate, prevent or remedy the
      harassment, discrimination or retaliation.
12
      Complainant reserves the right to name any later discovered managing agents, supervisors,
13 alter egos, joint employers, principals, agents, subsidiaries or parent corporations upon
      discovery of their identity as additional Respondents. It is believed that Respondents had a
14 pattern and practice of harassment, discrimination, and retaliation and that information is
      also within the Respondents control at this time and would not be available to complainant
15
      until after a lawsuit is filed. Complainant therefore puts respondents on notice that they
16    should investigate other employees as well and whether there was widespread
      discrimination. The actions were illegal and done with malice, oppression and fraud in
17    knowing violation of the law. Complainant and others will seek all damages, including loss of
      earnings, loss of career, emotional harm, attorneys fee and punitive damages. Complainant
18    requests all evidence be preserved and that Respondents conduct a complete and thorough
      investigation and take immediate corrective action.
19
      Complainant worked as Physical Therapist Assistant for Respondents. Throughout
20 Complainant’s employment she was subjected to harassment and discrimination on the
      basis of her disability. Complainant suffered from a medical condition that that required
21 accommodations. Rather than engage in the interactive process, Respondents wrongfully
      terminated Complainant’s employment. The actions were illegal and done with malice,
22 oppression and fraud in knowing violation of the law. Complainant and others will seek all
      damages, including loss of earnings, loss of career, emotional harm, attorneys fee and
23 punitive damages. Complainant requests all evidence be preserved and that Respondents
24 conduct a complete and thorough investigation and take immediate corrective action.
25
26                                                    -3-
                                     Complaint – DFEH No. 202112-15535702
27
      Date Filed: December 2, 2021
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                                                                                            DFEH-ENF 80 RS
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 1 VERIFICATION
 2 I, Nathan Kingery, am the Attorney in the above-entitled complaint. I have read the
   foregoing complaint and know the contents thereof. The matters alleged are based
 3
   on information and belief, which I believe to be true.
 4
   On December 2, 2021, I declare under penalty of perjury under the laws of the State
 5 of California that the foregoing is true and correct.
 6                                                                           Los Angeles CA
 7
 8
 9
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26                                                    -4-
                                     Complaint – DFEH No. 202112-15535702
27
      Date Filed: December 2, 2021
28
                                                                                      DFEH-ENF 80 RS
